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 11   RON BENDER (SBN 143364)
      KRIKOR J. MESHEFEJIAN (SBN 255030)
 22   LINDSEY L. SMITH (SBN 265401)
 33   LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
      2818 La Cienega Avenue
 44   Los Angeles, California 90034
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 55   Email: RB@LNBYG.COM; KJM@LNBYG.COM; LLS@LNBYG.COM
 66   Proposed Attorneys for Chapter 11 Debtors
 77   and Debtors in Possession

 88                             UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
 99                                    SANTA ANA DIVISION

10
10    In re:                                           Lead Case No.: 8:22-bk-10948-SC
11
11    TRX HOLDCO, LLC, a Delaware limited              Jointly administered with:
      liability company,                               8:22-bk-10949-SC
12
12
13
13            Debtor and Debtor in Possession.         Chapter 11 Cases
      ____________________________________
14
14    In re:                                           APPLICATION OF CHAPTER 11
                                                       DEBTORS AND DEBTORS IN
15
15                                                     POSSESSION TO EMPLOY KROLL,
      FITNESS ANYWHERE LLC, a Delaware                 LLC AS FINANCIAL ADVISORS
16    limited liability company, dba TRX and TRX       PURSUANT TO 11 U.S.C. § 327(a);
16
      Training,                                        DECLARATION OF JAMES FELTMAN
17
17                                                     IN SUPPORT THEREOF
              Debtor and Debtor in Possession.
18
18    ____________________________________
                                                       [No hearing required unless requested
19
19                                                     – L.B.R. 2014-1(b)]
20       Affects both Debtors
20
21
21      Affects TRX Holdco, LLC only

22
22       Affects Fitness Anywhere, LLC only
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 11   TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY

 22   JUDGE:

 33          TRX Holdco, LLC (“Hold Co”) and Fitness Anywhere LLC, dba TRX and TRX Training

 44   (“Product Co” and together with Hold Co and Product Co, collectively, the “Debtors”), the

 55   debtors and debtors-in-possession in the above-captioned, jointly-administered Chapter 11

 66   bankruptcy cases, respectfully submits this Application for authority to employ Kroll, LLC

 77   (“Kroll”) as the Debtors’ financial advisors pursuant to 11 U.S.C. § 327(a), with compensation

 88   pursuant to 11 U.S.C. § 330, and with such employment to be effective as of the date of the

 99   Debtors’ bankruptcy filings .
10
10                                                    I.
11
11                                        CASE BACKGROUND
12
12           On June 8, 2022, the Debtors each filed a voluntary petition for relief under Chapter 11 of
13
13    the Bankruptcy Code. Since the Petition Date, the Debtors have operated their businesses and
14
14    managed their affairs as debtors in possession pursuant to Sections 1107 and 1108 of the
15
15    Bankruptcy Code.
16
16           The Debtors and their respective subsidiaries (collectively referred to herein as “TRX”)
17
17    comprise a world leading functional fitness company. Since being founded in 2004, TRX has
18
18    evolved into a digitally-enabled, vertically integrated, omni-channel fitness lifestyle brand with
19
19    global reach powered by a large community of consumer and trainer enthusiasts. TRX’s flagship
20
20    and patented product - Suspension Trainer™ - is a highly versatile, portable, compact and
21
21    affordable fitness and training device/workout tool with broad reach across demographic groups
22
22    and fitness levels, which can be utilized effectively across fitness modalities. TRX offers a full
23
23    line of functional training tools and accessories to complement the Suspension Trainer™ to serve
24
24    all types of functional needs, from at-home essentials to complete gym installations. TRX also
25
25    launched in 2021 a purpose-built digital subscription-based platform - the TRX Training Club® -
26
26    that offers a library of on-demand videos and daily live classes.
27
27           Despite the development and success of the Debtors’ products over the years, the Debtors’
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28    revenue and cash flow from operations has been insufficient to support their current business


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 11   operations as well as their continued growth. There have been many reasons for this including

 22   competition, macroeconomic conditions, purchases of inventory in anticipation of demand that did

 33   not occur in an unpredictable market, and higher than anticipated development costs associated

 44   with the Debtors’ digital training platform and increased marketing expenses, partially attributable

 55   to general increases in paid advertising. It became apparent in late 2021 that the Debtors would

 66   require additional cash and investment to fund the Debtors’ long-term operations and growth and

 77   satisfy the Debtors’ secured debt obligations owed to the Bank of more than $19 million.

 88           Pre-petition, the Debtors hired Kroll Securities, LLC1 and Integrity Square LLC to, among

 99   other things, identify prospective investors and seek to obtain additional investments in the
10
10    Debtors’ business to further capitalize the Debtors and meet the Debtors’ operational and growth
11
11    needs, or engage in a sale transaction. The Debtors’ pre-petition efforts to raise capital to pay
12
12    down debt or engage in a strategic merger/acquisition with/by a buyer or investor did not result in a
13
13    consummated transaction.
14
14            The Debtors’ current financial situation is precarious in that the Debtors estimate that
15
15    unless they can consummate a transaction or obtain additional financing, the Debtors will not have
16
16    sufficient liquidity to replenish inventory, impairing future customer sales and thereafter negatively
17
17    impacting the Debtors’ goodwill. The Debtors believe that if there was a shutdown of their
18
18    business with a resulting liquidation, it would be a disastrous result for creditors, including the
19
19    Bank.
20
20            Based on the foregoing, the Debtors determined in the exercise of their business judgment
21
21    that the best option available to the Debtors would be to conduct an expedited free and clear asset
22
22    sale in a chapter 11 bankruptcy proceeding and consummate that asset sale before the Debtors’
23
23    inventory falls below required operational levels and the Debtors run out of sufficient liquidity to
24
24    sustain operations. The Debtors believe that proceeding in this manner will afford them with the
25
25    best opportunity to achieve the maximum price possible for their assets for the benefit of their
26
26    1
       Kroll Securities, LLC is an entity related to Kroll that provides investment banking services,
27
27    whereas Kroll provides financial advisory services. The Debtors will also be employing Kroll
      Securities, LLC as their investment banker and will be separately filing an employment
28
28    application seeking approval of their employment of Kroll Securities, LLC.



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 11   creditors and other parties in interest. The Debtors are optimistic that this free and clear asset sale

 22   process will result in a successful sale transaction closing.

 33                                                     II.

 44                           EMPLOYMENT OF FINANCIAL ADVISORS

 55           The Debtors require the services of a financial advisory firm to render the following types

 66   of professional services within the context of their pending Chapter 11 cases:

 77                   a.      Assist the Debtors in developing a short-term cash flow forecasting tool

 88           and related methodologies as requested by the Debtors.

 99                   b.      Assist the Debtors with preparation of financial information needed for
10
10            pleadings and other required documents to be filed in the Debtors’ bankruptcy cases,
11
11            including execution of relevant documents and pleadings, reviewing the bankruptcy
12
12            petitions and first day motions and related pleadings, providing declarations in support of
13
13            first day pleadings and other pleadings as appropriate, attend and appear on behalf of the
14
14            Debtors at bankruptcy hearings and 341 meetings of creditors and related ancillary
15
15            bankruptcy matters.
16
16                    c.      Assist in the development, along with management and restructuring
17
17            professionals, a Plan of Reorganization or asset sale process with the goal of achieving
18
18            maximum value for the bankruptcy estates in an expedited manner.
19
19                    d.      Coordinate activities and assist in communication with outside
20
20            constituents and advisors, including banks and their advisors.
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21                    e.      Perform such other related services, including the providing of
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22            Declarations and or testimony as are mutually agreeable to Kroll and the Debtors.
23
23            The Debtors have decided that Kroll is the ideal financial advisory firm to assist the
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24    Debtors, taking into account Kroll’s reputation, experience (particularly in Chapter 11
25
25    bankruptcy cases), skill level and cost. The Debtors believe that Kroll possesses the resources
26
26    and qualifications to provide the financial advisory services contemplated herein in an efficient
27
27    manner. The Debtors seek to employ Kroll as their financial advisors, at the expense of the
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28


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 11   Debtors’ bankruptcy estates, and to have the Debtors’ employment of Kroll be deemed effective

 22   as of the Petition Date (June 8, 2022).

 33          Kroll is comprised of, among others, operational and financial restructuring advisors

 44   experienced in providing administrative and operational assistance to debtors in possession in

 55   connection with their Chapter 11 bankruptcy cases to maximize value to creditors and

 66   stakeholders. Kroll’s restructuring practice works quickly and practically to identify issues,

 77   implement solutions and achieve results. Kroll has the expertise to reposition companies and turn

 88   them around, and Kroll’s toolkit helps extract value from difficult credit situations. Kroll

 99   commonly leverages its technical excellence and ethical standards to manage complex
10
10    insolvencies and bankruptcies and provide timely insights into bankruptcy litigation proceedings
11
11    through its breadth and depth of knowledge. Kroll has nearly 400 restructuring professionals.
12
12           The Debtors expect that James Feltman and Scott Lyman will be the professionals at
13
13    Kroll primarily responsible for providing financial advisory services to the Debtors in these
14
14    cases. True and correct copies of the professional biographies for Misters Feltman and Lyman
15
15    are collectively attached as Exhibit “2,” to the Declaration of James Feltman annexed hereto
16
16    (the “Feltman Declaration”) and are incorporated herein by reference. Kroll has agreed to apply a
17
17    25% discount to its fees for this engagement. Taking into account the 25% discount, the hourly
18
18    billing rate for Mr. Feltman is $950 and the hourly billing rate for Mr. Lyman is $750. The
19
19    hourly billing rates for other professionals at Kroll are as follows:
20
20                                      Level/Discounted Hourly Rate
21                                         Managing Director $950
21
                                                Director $750
22
22                                           Vice President $625
                                            Senior Associate $495
23
23                                              Analyst $400
24
24           The Debtors seek to employ Kroll under the terms and conditions set forth in the

25
25    Engagement Letter attached to the Feltman Declaration as Exhibit “1”.              Although the

26
26    Engagement Letter states that the Debtors will pay Kroll a retainer in the amount of $75,000,

27
27    prior to the Petition Date, the Debtors actually paid Kroll a retainer in the amount of $100,000,

28
28    which constituted an advanced fee retainer for services in contemplation of and in connection


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 11   with the Debtors’ chapter 11 cases (the “Retainer”). Kroll was advised by the Debtors that the

 22   source of payment of the Retainer was from the Debtors’ respective funds. Except as described

 33   above, Kroll has not been paid any other money by the Debtors at any other time. As of the

 44   Petition Date, none of the Retainer remained. Kroll has agreed to write off any fees or costs

 55   incurred but not covered by the Retainer on a pre-petition basis.

 66              As indicated above, the Debtors expect to consummate a sale of their assets in an

 77   expedited sale process. The Debtors do not expect that any conflict will arise resulting from

 88   Kroll’s representation of both Debtors, and the Debtors believe that hiring separate financial

 99   advisors for each of the Debtors would be extremely burdensome, expensive, inefficient,
10
10    impractical and unnecessary. In the event that any conflict issue(s) arise between the Debtors,
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11    Kroll will notify the Court and address such conflict that would be appropriate under the
12
12    circumstances, including having one or both Debtors hiring special counsel to address the issue
13
13    or conflict.
14
14               Because the majority of the assets are owned by Product Co and all or essentially all of
15
15    the business operations of the Debtors are conducted by Product Co, Kroll proposes to bill all of
16
16    its time to the Product Co bankruptcy case unless the matter deals only with the Hold Co
17
17    bankruptcy case in which case Kroll will bill its time to the Hold Co bankruptcy case.
18
18               Kroll understands the provisions of 11 U.S.C. §§ 327(a) and 330, which require, among
19
19    other things, Court approval of the Debtors’ employment of Kroll as financial advisors and of the
20
20    payment of all fees and expenses that Kroll will receive from the Debtors and the Debtors’
21
21    estates.
22
22               Kroll is not an equity security holder or an insider of the Debtors.
23
23               To the best of its knowledge, except as set forth herein, Kroll does not have any previous
24
24    connection with any insider of the Debtors or any insider of an insider of the Debtors.
25
25               As set forth in the annexed Feltman Declaration, to the best of Kroll’s knowledge, Kroll
26
26    does not hold or represent any interest materially adverse to the Debtors or their estates, and
27
27    Kroll is a “disinterested person” as that term is defined in Section 101(14) of the Bankruptcy
28
28    Code. Also, to the best of Kroll’s knowledge, except as set forth herein, Kroll has no prior


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 11   connection with the Debtors, any creditors of the Debtors or their estates, or any other party in
 22   interest in the Debtors’ cases, or any of their respective attorneys or accountants, the United
 33   States Trustee or any person employed by the United States Trustee.
 44          Prior to the Petition Date, Kroll Securities, LLC, an entity related to Kroll, was employed
 55   as the Debtors’ investment banker. The Debtors will be seeking Court authority to continue
 66   employing Kroll Securities, LLC’s during their bankruptcy cases and will be separately filing an
 77   employment application seeking approval of their employment of Kroll Securities, LLC.
 88          Except as set forth herein, Kroll is not and was not an investment banker for any
 99   outstanding security of the Debtors. Kroll has not been within three years before the Petition
10
10    Date an investment banker for a security of the Debtors, or an attorney for such an investment
11
11    banker in connection with the offer, sale or issuance of any security of the Debtors.
12
12           Except as set forth herein, neither Kroll nor any member of Kroll is, nor was, within two
13
13    years before the Petition Date, a director, officer or employee of the Debtors or of any
14
14    investment banker for any security of the Debtors.
15
15           The Debtors believe that their employment of Kroll upon the terms and conditions set
16
16    forth above is in the best interest of the Debtors’ estates.
17
17           WHEREFORE, the Debtors respectfully request that the Court approve the Debtors’
18
18    employment of Kroll as their financial advisors upon the terms and conditions set forth herein.
19
19    Dated: June 16, 2022
20
20
      TRX HOLDCO, LLC
21
21    FITNESS ANYWHERE LLC, dba TRX and TRX TRAINING
22
22    __________________________________________
      Name: Michael Zuercher
23
23
      Title: General Counsel
24
24                                        LEVENE, NEALE, BENDER, YOO
                                          & GOLUBCHIK L.L.P.
25
25                                        By: /s/ Lindsey L. Smith
                                                 Ron Bender
26
26                                               Krikor J. Meshefejian
27                                               Lindsey L. Smith
27
                                                 Proposed Counsel for Chapter 11 Debtors
28
28                                               and Debtors in Possession



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 11                            DECLARATION OF JAMES FELTMAN

 22          I, James Feltman, hereby declare as follows:

 33          1.      I have personal knowledge of the facts set forth below and, if called to testify,

 44   would and could competently testify thereto. Capitalized terms not otherwise defined herein shall

 55   have the same meaning ascribed to such terms as in the Application to which this Declaration is

 66   attached (the “Application”).

 77          2.      I am a managing director in the restructuring practice at Kroll.

 88          3.      TRX Holdco, LLC (“Hold Co”) and Fitness Anywhere LLC, dba TRX and TRX

 99   Training (“Product Co” and together with Hold Co and Product Co, collectively, the “Debtors”),
10
10    the debtors and debtors-in-possession in the above-captioned Chapter 11 bankruptcy cases have
11
11    requested that Kroll serve as their financial advisors in connection with their chapter 11
12
12    bankruptcy cases that the Debtors commenced on June 8, 2022 (the “Petition Date”).
13
13           4.      The Debtors require the services of a financial advisory firm to render the
14
14    following types of professional services within the context of their pending Chapter 11 cases:
15
15                   a. Assist the Debtors in developing a short-term cash flow forecasting tool and
16
16                      related methodologies as requested by the Debtors.
17
17                   b. Assist the Debtors with preparation of financial information needed for
18
18                      pleadings and other required documents to be filed in the Debtors’ bankruptcy
19
19                      cases, including execution of relevant documents and pleadings, reviewing the
20
20                      bankruptcy petitions and first day motions and related pleadings, providing
21
21                      declarations in support of first day pleadings and other pleadings as
22
22                      appropriate, attend and appear on behalf of the Debtors at bankruptcy hearings
23
23                      and 341 meetings of creditors and related ancillary bankruptcy matters.
24
24                   c. Assist in the development, along with management and restructuring
25
25                      professionals, a Plan of Reorganization or asset sale process with the goal of
26
26                      achieving maximum value for the bankruptcy estates in an expedited manner.
27
27                   d. Coordinate activities and assist in communication with outside constituents
28
28                      and advisors, including banks and their advisors.


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 11                  e. Perform such other related services, including the providing of Declarations

 22                      and or testimony as are mutually agreeable to Kroll and the Debtors.

 33          5.      The Debtors seek to employ Kroll as their financial advisors, at the expense of the

 44   Debtors’ bankruptcy estates, and to have the Debtors’ employment of Kroll be deemed effective

 55   as of the Petition Date (June 8, 2022).

 66          6.      Kroll is comprised of, among others, operational and financial restructuring

 77   advisors experienced in providing administrative and operational assistance to debtors in

 88   possession in connection with their Chapter 11 bankruptcy cases to maximize value to creditors

 99   and stakeholders. Kroll’s restructuring practice works quickly and practically to identify issues,
10
10    implement solutions and achieve results. Kroll has the expertise to reposition companies and turn
11
11    them around, and Kroll’s toolkit helps extract value from difficult credit situations. Kroll
12
12    commonly leverages its technical excellence and ethical standards to manage complex
13
13    insolvencies and bankruptcies and provide timely insights into bankruptcy litigation proceedings
14
14    through its breadth and depth of knowledge. Kroll has nearly 400 restructuring professionals.
15
15           7.      I expect that Scott Lyman and I will be the professionals at Kroll primarily
16
16    responsible for providing financial advisory services to the Debtors in these cases. True and
17
17    correct copies of the professional biographies for Mr. Lyman and me are collectively attached
18
18    hereto as Exhibit “2”. Kroll has agreed to apply a 25% discount to its fees for this engagement.
19
19    Taking into account the 25% discount, my hourly billing rate is $950 and the hourly billing rate
20
20    for Mr. Lyman is $750. The hourly billing rates for other professionals at Kroll are as follows:
21
21                                     Level/Discounted Hourly Rate
22
22                                        Managing Director $950
                                               Director $750
23
23                                          Vice President $625
                                           Senior Associate $495
24
24                                             Analyst $400
25
25           8.      The Debtors seek to employ Kroll under the terms and conditions set forth in the
26
26    Engagement Letter attached hereto as Exhibit “1”. Although the Engagement Letter states that
27
27    the Debtors will pay Kroll a retainer in the amount of $75,000, prior to the Petition Date, the
28
28    Debtors actually paid Kroll a retainer in the amount of $100,000, which constituted an advanced


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 11   fee retainer for services in contemplation of and in connection with the Debtors’ chapter 11 cases

 22   (the “Retainer”). I was advised by the Debtors that the source of payment of the Retainer was

 33   from the Debtors’ respective funds. Except as described above, Kroll has not been paid any other

 44   money by the Debtors at any other time. As of the Petition Date, none of the Retainer remained.

 55   Kroll has agreed to write-off fees and costs incurred on a pre-petition basis which exceed the

 66   amount of the Retainer.

 77              9.    As indicated in the Application, the Debtors expect to consummate a sale of their

 88   assets in an expedited sale process. I do not expect that any conflict will arise resulting from

 99   Kroll’s representation of both Debtors, and I believe that hiring separate financial advisors for
10
10    each of the Debtors would be extremely burdensome, expensive, inefficient, impractical and
11
11    unnecessary. In the event that any conflict issue(s) arise between the Debtors, Kroll will notify
12
12    the Court and address such conflict that would be appropriate under the circumstances, including
13
13    having one or both Debtors hiring special counsel to address the issue or conflict.
14
14               10.   Because the majority of the assets are owned by Product Co and all or essentially
15
15    all of the business operations of the Debtors are conducted by Product Co, Kroll proposes to bill
16
16    all of its time to the Product Co bankruptcy case unless the matter deals only with the Hold Co
17
17    bankruptcy case in which case Kroll will bill its time to the Hold Co bankruptcy case.
18
18               11.   I understand the provisions of 11 U.S.C. §§ 327(a) and 330, which require, among
19
19    other things, Court approval of the Debtors’ employment of Kroll as financial advisors and of the
20
20    payment of all fees and expenses that Kroll will receive from the Debtors and the Debtors’
21
21    estates.
22
22               12.   Kroll is not an equity security holder or an insider of the Debtors.
23
23               13.   Kroll Securities, LLC is an entity related to Kroll that provides investment
24
24    banking services, whereas Kroll provides financial advisory services. I understand that the
25
25    Debtors will also be employing Kroll Securities, LLC as their investment banker and will be
26
26    separately filing an employment application seeking approval of their employment of Kroll
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27    Securities, LLC.
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 11          14.     To the best of my knowledge, except as set forth herein, Kroll does not have any

 22   previous connection with any insider of the Debtors or any insider of an insider of the Debtors.

 33          15.     To the best of my knowledge, Kroll does not hold or represent any interest

 44   materially adverse to the Debtors or their estates, and Kroll is a “disinterested person” as that

 55   term is defined in Section 101(14) of the Bankruptcy Code. Also, to the best of my knowledge,

 66   except as set forth herein, Kroll has no prior connection with the Debtors, any creditors of the

 77   Debtors or their estates, or any other party in interest in the Debtors’ cases, or any of their

 88   respective attorneys or accountants, the United States Trustee or any person employed by the

 99   United States Trustee.
10
10           16.     Prior to the Petition Date, Kroll Securities, LLC, an entity related to Kroll, was
11
11    employed as the Debtors’ investment banker. The Debtors will be seeking Court authority to
12
12    continue employing Kroll Securities, LLC’s during their bankruptcy cases and will be separately
13
13    filing an employment application seeking approval of their employment of Kroll Securities,
14
14    LLC.
15
15           17.     Except as set forth herein, Kroll is not and was not an investment banker for any
16
16    outstanding security of the Debtors. Kroll has not been within three years before the Petition
17
17    Date an investment banker for a security of the Debtors, or an attorney for such an investment
18
18    banker in connection with the offer, sale or issuance of any security of the Debtors.
19
19           18.     Except as set forth herein, Kroll is not and was not an investment banker for any
20
20    outstanding security of the Debtors. Kroll has not been within three years before the Petition
21
21    Date an investment banker for a security of the Debtors, or an attorney for such an investment
22
22    banker in connection with the offer, sale or issuance of any security of the Debtors.
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11          19.     Neither Kroll nor any member of Kroll is, nor was, within two years before the
22   Petition Date, a director, officer or employee of the Debtors or of any investment banker for any
33   security of the Debtors.
44          I declare and verify under penalty of perjury that the foregoing is true and correct to the
55   best of my knowledge.
66          Executed on this 16th day of June, 2022, at Chicago, Illinois.
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10                                                JAMES FELTMAN, Declarant
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 11
                                       EXHIBIT “1”
 22

 33                              [ENGAGEMENT LETER]
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CONFIDENTIAL

VIA E-MAIL: brent@equity38.com

 May 31, 2022

 Mr. Brent Leffel
 Chairman
 TRX Holdco, LLC; Fitness Anywhere LLC
 450 Newport Center Drive, Suite 590
 Newport Beach, CA 92660



SUBJECT:               Provision of Restructuring Advisory Services to TRX Holdco, LLC and
                       Fitness Anywhere LLC

Dear Mr. Leffel:

This letter confirms the understanding and agreement (the "Agreement") with TRX Holdco, LLC and
Fitness Anywhere LLC (collectively called the "Company" or the “Client”), concerning the engagement of
Kroll, LLC ("Kroll"). This Agreement reflects the terms and conditions of Kroll’s engagement by the
Company to provide Restructuring Advisory Services to the Company with an effective date as of May
27, 2022.

Kroll is not rendering any legal advice in this matter, and all legal advice being provided to your Client
shall be your sole responsibility.

Our work may include investigating, collecting and analyzing information, including but not limited to
accounting records and other financial information, as well as performing various financial and
accounting analyses, as needed and directed by you. However, our engagement does not include an
audit in accordance with generally accepted auditing standards of existing business records.

To ensure compliance with requirements imposed by the IRS, we inform you that any U.S. federal tax
advice contained in this communication (including any attachments) or any report or deliverable
contemplated by this communication, whether draft or final, is not intended or written to be used, and
cannot be used, for the purpose of (i) avoiding penalties under the Internal Revenue Code or (ii)
promoting, marketing or recommending to another party any transaction or matter addressed herein.

Restructuring Advisory Services are intended to include the following:

         Working collaboratively with the senior management team, certain Members of the Board of
          Directors and other Company professionals, Kroll will assist the Company to do the following:

                a. Assist the Company to prepare for Chapter 11 filings in a United States bankruptcy
                   court having jurisdiction over the Company's proceedings


 Kroll, LLC                              T   +1 305-793-6279        James.Feltman@kroll.com
 55 East 52nd Street                     F                          www.kroll.com
 New York, NY 10055
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            b. Assist the Company to oversee bankruptcy preparation and filing activities; including
               execution of relevant documents, reviewing the bankruptcy petitions and first day
               affidavits, execute first day affidavits as appropriate, attend and appear on behalf of the
               Company at bankruptcy hearings and 341 meetings of Creditors and related ancillary
               bankruptcy matters

            c.   Assist in the development, along with the Boards, management, and restructuring
                 professionals, a Plan of Reorganization or asset sale process with the goal of achieving
                 maximum value for the bankruptcy estates in an expedited manner

            d. Coordinate activities and assist in communication with outside constituents and
               advisors, including banks and their advisors

            e. Perform such other related services, including the provision of Declarations and or
               testimony as are mutually agreeable to Kroll and the Company

            f.   Assist the Company and its management and Boards in developing a short-term cash
                 flow forecasting tool and related methodologies and to assist with planning for
                 alternatives as requested by the Company and/or the Boards

In performing its services pursuant to this Agreement, Kroll is not assuming any responsibility for the
Company's decision to pursue (or not to pursue) any business strategy or to effect (or not to effect) any
Restructuring Transaction or other transaction; and Kroll will not act, or be deemed to have acted or
assumed the duties of acting, in any managerial or fiduciary capacity whatsoever for the Company. Kroll
makes no representations or warranties concerning the Company's ability to improve its operations,
maintain or secure sufficient liquidity to operate its business or successfully complete a Restructuring
Transaction. The Company agrees that Kroll shall not have any obligation or responsibility to provide
accounting, audit, or to provide any valuation opinions, fairness opinions, or any advice or opinions with
respect to solvency in connection with any Restructuring Transaction, but may provide advice with
respect to the foregoing to the Company in connection with the performance of the financial advisory
duties described above. The Company confirms that it will rely on its own counsel, accountants, and
similar expert advisors for legal, accounting, tax and other similar advice.

Confidentiality and Privilege
Our work is intended for your use and benefit in the representation of the Client and should not be used
by any other party for any other purpose except as explicitly permitted hereunder. You and Client shall
maintain all information or documents prepared by Kroll and/or provided by Kroll (the “Kroll Work
Product”) as confidential, and shall not disclose, disseminate, redistribute or otherwise make available
the Kroll Work Product to any third party, whether in whole or in part, without the express written
consent of Kroll, provided, however, that Kroll Work Product may be disclosed if required by law or in
response to a lawful order or demand of any court of competent jurisdiction, provided, however, that
before making such a disclosure, you and/or Client, as applicable, agree to provide Kroll with prompt
prior notice of any such compelled disclosure so that you, Kroll or Client may seek a protective order or
other appropriate remedy.

It is anticipated that all information or documents prepared by Kroll and/or provided by Kroll to you
and/or your Client in the course of this engagement constitute confidential communications protected
from disclosure to third parties by the attorney-client privilege and/or constitute confidential work product
protected from disclosure to third parties by the attorney work-product doctrine. As such, all documents,
including but not limited to written reports, memoranda, financial analyses and summaries, that we
prepare in connection with this engagement shall be prominently labeled “Attorney Work-Product;
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Privileged & Confidential” at your request. We will not prepare any written reports in this matter unless
specifically requested to do so by you.
It is anticipated that all information or documents supplied to Kroll by you and/or your Client in the
course of this engagement constitute confidential communications protected from disclosure to third
parties by the attorney-client privilege and/or constitute confidential work product protected from
disclosure to third parties by the attorney work-product doctrine.

Conflict Check
An internal search within Kroll was performed for any potential client conflicts based on the names of
the person(s)/entities that you provided. To the best of our knowledge and belief, client conflicts were
not identified at that time. You agree that you will inform Kroll of additional parties to this matter or of
name changes of the person(s)/ entities that you initially provided.

Since Kroll is presented with new client opportunities every day, we cannot ensure that, following the
completion of our internal conflict search, an engagement on behalf of any of the person(s)/ entities in
this matter will not be accepted by Kroll. Should a conflict come to the attention of the Managing
Director in charge of your engagement, he or she will advise you as soon as possible.

Kroll understands that Kroll was previously retained by the Company to provide investment banking and
related services. Kroll agrees to continue working with the Company and to provide the services
described above even if the Company decides to proceed with a different investment banker or no
investment banker.

Staffing
James S. Feltman will be the managing director responsible for the overall engagement. He will be
assisted by a staff of consultants at various levels, who have a wide range of skills and abilities related
to this type of assignment. In addition, Kroll has relationships with, and may periodically use,
independent contractors with specialized skills and abilities to assist in this engagement. We will
periodically review the staffing levels to determine the proper mix for this assignment. We will only use
the necessary staff required to complete the requested planned tasks.

Fees and Expenses
We will bill on a time and expense basis, with our fees determined by the hours actually expended by each
assigned professional. We recognize the need to maximize cost efficiency, and therefore, we endeavor to
utilize staff at the level commensurate to the particular task while maintaining our standard of high quality
work product.

Kroll has agreed to apply a 25% discount to its fees for this engagement. Our discounted hourly billing
rates for this engagement will be as follows

 Level                                                                   Discounted Hourly Rate
 Managing Director                                                               $950
 Director                                                                        $750
 Vice President                                                                  $625
 Senior Associate                                                                $495
 Analyst                                                                         $400

Attendance at out-of-town trial and deposition is billed at a minimum of eight hours per day. Out-of-town
travel time is billed at the standard time rates quoted above. All reasonable direct out-of-pocket
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expenditures incurred on your behalf will be billed to you at our cost for such items. Any out-of-town air
or rail travel will be booked as business class, or in the event business class is not available, first class.
Regardless, all air travel in excess of six hours one- way will be booked as first class.

Our hourly rates are adjusted from time to time, and we will advise you promptly if a rate adjustment is
being made by Kroll.

We will discuss with you the impact on fees and expenses of any proposed changes to the Services.

Kroll will bill your Client monthly (at the Client address listed in the signature block below or as otherwise
updated by you or Client) directly via invoice with a copy to you. It is acknowledged that payment is the
sole responsibility of the Client. However, Kroll understands that if the Company files chapter 11
bankruptcy cases, the ability of the Company to make any post-bankruptcy payments to Kroll will be
dependent upon the Bankruptcy Court’s approval of such payments and ultimate allowance by the
Bankruptcy Court after notice and a hearing.

A total non-refundable initial retainer of $75,000 is due upon execution of this engagement letter. The
retainer shall be applied to the final billing rendered hereunder, and any excess shall be promptly
refunded to you, unless the total fees in the case are less than the initial non-refundable retainer, in
which case the excess will be deemed earned by us and not subject to refund. We reserve the right to
increase the retainer during the course of the engagement to better protect our ability to collect fees,
subject to that set forth above in the event the Company files chapter 11 bankruptcy cases. Further, if
invoices are outstanding for more than ninety (90) days, the retainer will be automatically applied
against the outstanding balance and will need to be immediately replenished to restore the retainer to
the amount of the initial retainer in order for any further work to be performed hereunder.

We do not warrant or predict results in this matter, and our fees are not contingent upon any outcome
arising out of the provision of the Services.

If we do not receive payment of any invoice within fifteen (15) days of the invoice date, we shall be
entitled, without prejudice to any other rights that we may have, to suspend provision of the Services
until all sums due are paid in full, recognizing that any post-bankruptcy payments are subject to the
approval of the Bankruptcy Court as set forth above, and Kroll’s ability to withdraw and/or suspend
providing services during chapter 11 bankruptcy cases will be permitted only with the prior approval of
the Bankruptcy Court after notice and a hearing. Further, to safeguard against any assertion or
allegation that our work may in some way be influenced by, or contingent upon, the outcome of our
analyses, we require that all outstanding invoices be paid, in full, prior to us issuing any expert report
and prior to us furnishing testimony in deposition or trial, should the services herein require such
testimony. Accordingly, we reserve the right to refuse to testify if we have not been paid in full at the
time such testimony is required.

Terms and Conditions

The attached Terms and Conditions set forth the rights and responsibilities of the parties with respect to
the Services. By signing this Letter of Engagement, it is acknowledged that the Client understand and
agree to the Terms and Conditions.

                                              *   *    *   *   *
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Kroll is committed to providing superior service to its clients. If you have any questions or require further
information, please call me at 305-793-6279. If the scope and terms of this Letter of Engagement are
acceptable, please acknowledge your acceptance by signing and returning a copy of this letter to James
Feltman at Kroll, LLC, 55 East 52nd Street, New York, NY 10055.

Yours sincerely,




James Feltman
Managing Director
Kroll, LLC




Confirmation of Letter of Engagement

I declare that I have the authority to act on behalf of and bind the Company, and I have read,
understand and accept the Letter of Engagement, and Terms and Conditions attached thereto, dated
May 31, 2022.

                                                                            5/31/2022
                                                                    Date:
Signed:            Brent Leffel
Title:             Chairman of TRX Holdco, LLC




Confirmation of Letter of Engagement

I declare that I have the authority to act on behalf of and bind the Company, and I have read,
understand and accept the Letter of Engagement, and Terms and Conditions attached thereto, dated
May 31, 2022.


                                                                    Date: 5/31/2022
Signed:            Brent Leffel
Title:             Chairman of Fitness Anywhere LLC
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Attachment to Client, Letter of Engagement dated May 31, 2022 Document 10.Page   19 of 36
                                                                           Notwithstanding the foregoing, either Kroll or Client will be entitled to
                                                                                           disclose Confidential information of the other party (a) to our respective
Terms and Conditions                                                                       insurers or legal advisors, and (b) to a third party to the extent required by
The following are the terms and conditions (the “Terms and Conditions”) on                 any court of competent jurisdiction, or by a governmental, administrative or
which we will provide the Services set forth in the attached Letter of                     regulatory authority, or where there is a legal right, duty or requirement to
Engagement. Together, the Terms and Conditions and the Letter of                           disclose; provided that, where reasonably practicable, and without
Engagement are referred to as the “Contract,” which forms the entire agreement             breaching any legal or regulatory requirement, not less than two (2)
between Kroll and you relating to the Services.                                            business days’ notice in writing is first given to the other party.
                                                                                       11. If, subsequent to the conclusion of our provision of services in this matter,
General                                                                                    we receive a subpoena for testimony or documents related to or arising
1. Any variation to this Contract, notwithstanding any variation to the Services           from this engagement, the Client shall be liable for all of our expenses and
    specified in the Letter of Engagement, shall be set forth in a letter or email         our time in responding to such subpoena, including the time to testify at
    communication deemed effective and made part of this Letter of                         deposition and/or trial, regardless of whether the subpoena is served by
    Engagement upon written acknowledgement by the receiving party.                        your clients or a third party and regardless of whether the subpoena only
2. After we have delivered any work product in final form, we have no                      seeks our testimony as a fact witness. Our time will be billed at our
    responsibility to update such work product to reflect, incorporate or                  standard rates in place at that time for our services as an expert. Kroll
    otherwise consider any events or circumstances occurring subsequent to                 agrees to promptly notify Client upon receipt of such request for
    the date of provision of such work product. If such update is requested, a             information, subpoena or other legal process.
    separate letter of engagement, subject to our then standard fees plus
    expenses, shall be required.                                                       Termination
                                                                                       12. If Kroll is hired as a testifying expert witness, Kroll may immediately, upon
Provision of Information                                                                   written notice, terminate services hereunder at any time should a
3. Our performance of the Services is dependent upon you providing us with                 disagreement arise between the parties with respect to any expert opinions
    accurate and timely information and assistance. You shall use reasonable               to be offered at deposition and/or trial. Further, either party may terminate
    skill, care and attention to ensure that all information we may reasonably             this Contract in the event that the other party has breached any material
    require is provided on a timely basis and is accurate and complete. You                provision thereof and such breach has not been cured within five (5)
    shall notify us if you subsequently learn that the information provided is             business days after receipt of written notice from the then non-breaching
    incorrect or inaccurate or otherwise should not be relied upon. Failure to             party. Client may terminate this Contract for convenience upon thirty (30)
    comply with this provision in any manner will frustrate, delay and/or                  days notice to Kroll.
    otherwise impede Kroll’s performance of the Services, and Kroll shall not          13. Upon termination of this Contract for any reason, each party shall, upon
    be held liable for any damage, sanction or penalty as a result thereof.                written request from the other, return to the other all property and
                                                                                           documentation of the other in its possession, except that we shall be
Work Product and Property Rights                                                           entitled to retain one copy of such documents in order to maintain a
4. There may be differences between the draft and final work product. During               professional record of our involvement.
    the course of our work, drafts of our report may be issued. You                    14. If this Contract is terminated in accordance with paragraphs 12 or 13, all of
    acknowledge that no reliance shall be placed on draft reports, conclusions             the Terms and Conditions set forth herein shall survive such termination.
    or advice, whether oral or written, issued by us as the same may be
    subject to further work, revision, and other factors which may result in such      Other Terms and Provisions
    drafts being substantially different from any final report or advice issued.       15. Within five (5) business days of your receipt of notice of any formal
    Further, you acknowledge that issuance of draft reports may be                         challenge to the testifying expert’s qualifications or opinions (e.g., Daubert
    discoverable and subject of us being forced to produce such drafts in                  Motion, Motion in Limine etc.), you shall notify Kroll in writing of the same.
    discovery in this matter.                                                              In the event of such challenge, Kroll reserves the right to retain its own
5. Any advice given or work product issued by us is provided solely for your               counsel in connection with the challenge, and you agree to reimburse Kroll
    use and benefit and only in connection with the Services. Unless required              for reasonable legal fees and expenses incurred in connection therewith to
    by law, you shall not provide such work product to any third party (except             the extent such fees exceed $3,000.00.
    to other consultants or experts engaged by you in connection with this             16. Except in the event of our (i) gross negligence, (ii) willful misconduct or (iii)
    matter who you agree shall be subject to the confidentiality requirements              fraud, in no event shall we be liable to Client or you (or any person
    and restrictions on use set forth herein) or refer to us or the Services               claiming through either Client or you), under any legal theory, for any
    without our prior written consent, where such consent shall not be                     amount in excess of the total professional fees paid by you to us under this
    unreasonably withheld by Kroll. In no event, regardless of whether                     Contract or any addendum to which the claim relates. In no event shall we
    consent has been provided, shall we assume any responsibility to any third             be liable to Client or you under this Contract under any legal theory or for
    party to which any advice or work product is disclosed or otherwise made               any consequential, indirect, lost profit or similar damages relating to or
    available.                                                                             arising from the Services provided under this Contract.
6. Unless otherwise instructed by court order or other written instruction,            17. Each of Client and you accept and acknowledge that any legal proceeding
    upon conclusion of our services, all documents reviewed and work product               arising from or in connection with this Contract (or any variation or addition
    prepared in connection with this engagement shall be handled in                        thereto) must be commenced within one (1) year from the date when you
    accordance with our document retention policy.                                         become aware of the facts giving rise to our alleged liability. Each of Client
7. To the extent that Kroll utilizes any of its property (including, but not limited       and you also agree that no action or claim will be brought against any Kroll
    to, any hardware or software) in connection with this engagement, such                 employee personally.
    property shall remain the property of Kroll, and you shall not acquire any         18. Client agrees to indemnify and hold harmless Kroll, its affiliates and their
    right or interest in such property. We shall have ownership (including, but            respective employees from any and all third party claims, liabilities, losses,
    not limited to, copyright ownership) and all rights to use and disclose our            costs, demands and reasonable expenses, including but not limited to
    ideas, concepts, know-how, methods, techniques, processes and skills,                  reasonable legal fees and expenses, relating to the Services rendered
    and adaptations thereof, in conducting our business.                                   under this Contract or otherwise arising under this Contract. The foregoing
                                                                                           indemnification obligations shall not apply in the event that a court of
Preservation of Confidential Information                                                   competent jurisdiction finally determines that such claims resulted directly
8. Information received from the other party for the purposes of providing or              from the gross negligence, willful misconduct or fraudulent acts of Kroll.
    receiving the Services is deemed “Confidential” if it is either (a) marked         19. You accept and acknowledge that we have not made any warranties or
    confidential in tangible form; (b) otherwise confirmed in writing as being             guarantees, whether express or implied, with respect to the Services or
    confidential; or (c) manifestly confidential in tangible form or otherwise. All        any outcome that may be obtained as a result of the provision of the
    parties agree that any Confidential information received from the other                Services.
    party shall only be used for the purposes of providing or receiving the            20. Except for your payment obligations, neither of us will be liable to the other
    Services under this or any other contract between us. In addition, neither             for any delay or failure to fulfill obligations caused by circumstances
    party will disclose, without the prior written consent of the other party, any         outside our reasonable control.
    such Confidential information to any third party, except insofar as provided       21. We reserve the right to use your name and a description of the nature of
    in sections 5, 10 and 11.                                                              the Services in general marketing materials.
9. Section 8 will not apply to any information which is (a) or becomes                 22. This Contract shall be governed by and interpreted in accordance with the
    generally available to the public other than as a result of a breach of an             laws of the State of New York and the courts of the State of New York shall
    obligation by the receiving party; (b) acquired from a third party who owes            have exclusive jurisdiction in relation to any claim arising out of this
    no obligation of confidence with respect to the information; or (c) or has             Contract
    been independently developed by the recipient of such information.
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                                                       Date: May 31, 2022


                                                                  PLEASE REMIT TO:

                                                    Payment Via Lockbox:
                                                    KROLL, LLC
                                                    12595 COLLECTION CENTER DRIVE
                                                    CHICAGO, IL 60693

                                                    Payment Via Wiring:
                                                    KROLL, LLC
                                                    Bank of America
                                                    ABA:026009593
                                                    Account # 1233035833
                                                    SWIFT: BOFAUS3N

                                                    Payment Via ACH:
                                                    KROLL, LLC
                                                    Bank of America
                                                    P.O. Box 27025
                                                    Richmond, VA 23261
                                                    Account # 1233035833
                                                    ACH ABA # 122000030

                                                    Federal ID: XX-XXXXXXX

TRX Holdco, LLC and Fitness Anywhere LLC
450 Newport Center Drive, Suite 590
Newport Beach, CA 92660




Retainer pursuant to the TRX Holdco, LLC and Fitness Anywhere LLC Engagement letter dated

May 31, 2022.



       Retainer Amount:            $75,000

       Retainer Amount Due:        $75,000
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 11                                    EXHIBIT “2”
 22
                              [PROFESSIONAL BIOGRAPHIES]
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                               James S. Feltman
                               Managing Director, Restructuring
Contact
E james.feltman@kroll.com      Mr. Feltman is among the most experienced bankruptcy
T +212 450 2854                fiduciaries in the United States, having served as a
M +305 793 6279                Chapter 11 Trustee in 25 assignments, an Examiner in 14
                               matters and as a Chapter 7 Trustee in over 10,000 cases.
Areas of Expertise             Mr. Feltman's experience as a bankruptcy fiduciary is
 Financial Services           multi-jurisdictional, (including the Southern District of
• Healthcare
                               New York) and cross-border. Additionally, Mr. Feltman
                               served in other fiduciary roles in numerous matters
• Manufacturing and            including as a Mediator, Arbitrator and Monitor. His
  Distribution
                               industry specialization includes agriculture, retail,
• Mortgages & Asset Backed     manufacturing and distribution, real estate/construction,
  Securities
                               aviation, healthcare, financial services, and other
• Real Estate/Construction     industries.
• Retail
• Structured Derivatives

                               Mr. Feltman’s extensive experience as a fiduciary includes
                               operating and managing businesses, overall case
                               management, sales and liquidation of assets and business
                               interests, claims development and prosecution,
                               negotiating settlements, and administering claims
                               payment schemes in a variety of cases for more than the
                               last two decades. Mr. Feltman has managed the
                               dispositions of a range of businesses and business
                               interests, real estate, personal and intellectual property.

                               Mr. Feltman is a Fellow of the American College of
                               Bankruptcy, a member of the American Institute of
                               Certified Public Accountants and Florida Institute of
                               Certified Public Accountants. He is a Certified Public
                               Accountant in the State of Florida. From 2002-2008, Mr.
                               Feltman was a member of the Board of Directors of the
                               American Bankruptcy Institute. Mr. Feltman was honored
                               as one of the 2015 Consultants of the Year by Consulting
                               Magazine
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   Education
       M.P.S., Cornell University
       B.A., University of Wisconsin, Madison

   Certifications
       Certified Public Accountant, Florida
       Certified in Financial Forensics
       Certified Fraud Examiner

   Professional Associations
       American Bankruptcy Institute, April 2002 – April 2008, board of directors
       American Institute of Certified Public Accountants, member
       Florida Institute of Certified Public Accountants, member

   Honors and Awards
       Fellow, American College of Bankruptcy
       Top 25 Consultants in 2015 – Consulting Magazine

   Publications
       Financier Worldwide:
           o Panelist-Bankruptcy and Restructuring; November 2016
           o Panelist-Out-of-Court Restructuring Alternatives; June 2016
       ABI Fraud and Forensics
           o Co-Author-Effective Expert Reports-2015
           o Shifting Asset Valuations and Rising Debt; June 2017
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   Speaking Engagement
        Complex Financial Restructuring Program LV Nevada – February 2020: Healthcare
         Restructuring
        The Knowledge Group – November 2019: Using and Challenging Expert Witness Testimony
         in Bankruptcy Litigation: Winning Strategies
        Expert Witnesses in Bankruptcy Litigation – November 2019 (Webinar)
        World Bank/IFC - May 2019: Current Restructuring Topics presented to the Workout Team
        Complex Financial Restructuring Program LV Nevada Fiduciary Duties - February 2019
        ABI Milan International Solvency and Restructuring conference; International Asset Tracing -
         October 2018
        Financial Services Volunteer Corps – October 2014: Selection and Supervision of Bankruptcy
         Administrators (Marrakesh, Morocco)
        BBA/AIRA Joint Bankruptcy & Restructuring Program – January 2014: Valuation Topics in
         Bankruptcy
        Illinois CPA Fraud Conference – October 2013: Red Flags of Audit Breakdowns – Lessons
         Learned
        American College of Bankruptcy – October 2013: Where Are We Now And How Did We Get
         Here?
        Knowledge @ Wharton - February 2013: Reverse Mergers: A Looming U.S. – China Showdown
         over Securities Regulation?
        Compliance Week – January 2013: No Clear Solutions in Audit Standoff with China
        Reuters.com – January 2013: Chinese Companies Retreat from U.S. Listings as Scrutiny
         Mounts
        Bloomberg – December 2012: SEC Auditor Case Seen Jeopardizing Chinese U.S. Listings
        CNBC – December 2012: US/China Regulatory Standoff
        National Public Radio – December 2012: Feds Sue Chinese Audit Firms
        Industry Week – December 2012: Regulatory Clash: Lessons Learned through an East-Meets-
         West Dispute
        Compliance Week – August 2012: PCAOB Provides Audit Committees with a Roadmap on
         Inspection Results
        CNN – July 2012: Challenges for Chinese Companies listed on US markets
        CNBC – July 2012: Regulatory Environment in China
        Financier Worldwide – July 2012: Bankruptcy Litigation Roundtable (Article)
        The Association of Commercial Finance Attorneys CLEW – May 2012: Global Economics,
         Financial Fraud and Lender Liability
        The American Bankruptcy Institute 30th Annual Spring Meeting – April 2012: Commercial Real
         Estate Trends, Workouts, and Reorganizations
        Fox News Interview – January 2012: Will More Banks Fail in 2012?
        Anti-Corruption Compliance Program – October 2011: The Gathering Storm: Anti-Corruption
         Compliance for Private Equity and Hedge Funds
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        National Conference of Bankruptcy Judges October 2011: Financial Advisors in the
         Courtroom, and conducted a Webinar – China’s Red Flag: What Chinese companies must do
         to overcome issues surrounding transparency with the global investor community
        The Offshore Alert Conference – April 2011: Offshore But Not Off Limits: How Fraud Victims
         Can Obtain Relief in OFC’s
        The American Bankruptcy Institute 29th Annual Spring Meeting – March 2011: Cutting-Edge
         Litigation Issues: Ponzi Schemes, the Return of the Leveraged Buyouts, Valuation Disputes
         and More
        The Distressed Debt Conference in London – September 2010:              Considerations for
         Turnaround Investing.
        American Bankruptcy Institute – July 2010: Ponzi Schemes and Other Scams for Bilking
         Money, from Madoff to Consumer Rip-offs.
        American Bankruptcy Institute – August 2009: Ethical Issues for Lawyers Representing
         “Unusual” Clients.
        American Bankruptcy Institute – August 2009: Prove It! Evidence in Bankruptcy Proceedings.
        Kellogg Turnaround Management Conference – April, 2009: Negotiating in Creditors’
         Committees
        Distressed Acquisitions for Strategic Advantage – September 2008: Analyzing the Risks of
         Absorbing a “Sick” Company – Do I Have the Right Team?
        VALCON – January 2008: Restructuring Options for Homebuilders - What's Different This
         Time?
        National Conference of Bankruptcy Judges – October 2007: Where Will Bankruptcy Work
         Come From in 2008?
        American Bankruptcy Institute – July 2007: Effective Pre-Bankruptcy Negotiating and
         Packaging.
        American Bankruptcy Institute – July 2007: Drivers Impacting Credit and Capital Marketplace.
        Association of Commercial Finance Attorneys – June 2007: Asset Based Lending.
        American Bankruptcy Institute - Annual Spring Meeting, April 2007: Pensions and Benefits in
         Bankruptcy.
        American Bankruptcy Institute – Caribbean Insolvency Symposium, February 2007:
         Liquidating Cross-Border Assets and Recovering Cross-Border Claims.
        National Association of Credit Management, January 2007: Deepening Insolvency
        13th Annual Aircraft Financing Forum, October 2006: The Bankruptcy & Restructuring
         Process: Current Airline and Creditor Issues.
        American Bankruptcy Institute, September 2006: London International Insolvency
         Symposium – Aviation Panel.
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Bankruptcy Trustee Appointments



                                                          Filing     Appointment                           Attorney/
 Case Name                                Case No.        Date          Date             Role              Contact             Firm Name         Industry

BKC                                  Various            1988-2004     1988-2004     Chapter 11 and     Felicia S. Turner / Office of the U.S.   Various
                                                                                   Chapter 7 Trustee   Steven Turner       Trustee, Atlanta,
                                                                                                                           GA


AeroFloral, Inc.                     01-16367-BKC-RAM   6/13/2001     7/17/2001        Trustee         David M. Levine     Tew Cardenas,        Distribution
                                                                                                                           Miami, FL



Empresa De Transporte                99-13741-BCK-AJC   4/21/1999      9/8/1999        Trustee         David Cimo          Genovese,            Aviation
Aero Del Peru, S.A., Debtor                                                                                                Lichtman, Joblove
                                                                                                                           & Battista, P.A.,
                                                                                                                           Miami, FL


Aviation Composites Services,        01-18236-BKC-AJC     2002        3/21/2002        Trustee         Brian Behar         Behar Gutt &         Aviation
Inc.                                                                                                                       Glazer, Aventura,
                                                                                                                           FL


Bandsawe Residual Corp.,             99-15698-BKC-RAM   6/11/1999     8/18/1999        Trustee         Jerry Markowitz     Markowitz, Davis,    Professional
Debtor                                                                                                                     Ringel & Trusty,     Services –
                                                                                                                           P.A., Miami, FL      Legal


Blackwell & Walker, P.A.             96-10862-BKC-RAM   2/14/1996      3/8/1996        Trustee         Arnold              Schatzman &          Professional
                                                                                                       Schatzman           Schatzman, Miami,    Services –
                                                                                                                           FL                   Legal


Book Wholesalers Inc., Debtor        96-10521-BKC-RAM   1/29/1996     2/28/1996       Special          Tom Lehman          Tew & Beasley,       Retail
                                                                                   Representative /                        Miami, FL
                                                                                      Trustee


C.G.F. Electrical Corp., Debtor      95-15649           11/17/1995                     Trustee         Brian Behar         Behar, Gutt &        Professional
                                                                                                                           Glazer, Aventura,    Services
                                                                                                                           FL
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Bankruptcy Trustee Appointments



Certified HR Services Company 05-22912-BKC-RBR       5/12/2005     5/25/2005     Trustee     Paul Battista      Genovese Joblove       Professional
f/k/a The Cura Group, Inc.                                                                                      & Battista, Miami,     Services
                                                                                                                FL


Corporate Resource Services,      15-12329 (MG)      7/23/2015     9/22/2015    Chapter 11   Linda Rifkin,      Office of the U.S.     Professional
Inc.                                                                             Trustee     AUST               Trustee                Services



Florida Industrial Equipment &    91-14374-BKC-PGH     1991        8/15/1993     Trustee     Ilyse Homer        Stroock, Stroock &     Retail
Supplies, Inc., Debtor                                                                                          Lavan, Miami, FL



Glenbeigh Hospital of Miami,      93-11057-BKC-AJC     1993        6/30/1993     Trustee     Patricia Redmond Stearns, Weaver,         Healthcare
Inc., et al., Debtors                                                                                         Miller, et al., Miami,
                                                                                                              FL



Joseph Charles & Associates,      00-34898-BKC-SHR   11/1/2000      7/6/2001     Trustee     Kenneth B.         Rice & Robinson,       Financial
Inc.                                                                                         Robinson           Miami, FL              Services



Lander, Inc., Debtor              92-10103-BKC-AJC   1/7/1992       5/7/1993     Trustee     F. Lorraine Jahn   Mershon, Sawyer,       Retail
                                                                                                                et al., Miami, FL



Marathon Manor, Inc.              01-10599-BKC-AJC   1/24/2001     5/16/2001     Trustee     Frank P. Terzo     Holtzman Equels &      Healthcare
                                                                                                                Furia, Miami, FL



Phoenix Continental Corp. and     97-25400-BKC-PGH    8/1997        9/9/1997     Trustee     Thomas R.          Tew & Beasley,         Aviation
Flightline of America, L.C.       and 97-25401                                               Lehman             Miami, FL
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Bankruptcy Trustee Appointments



Suncoast Towers                     98-10537              1998       3/1998      Trustee   Linda G. Worton    Greenberg, Traurig, Real Estate
South Associates                                                                                              Miami, FL



Sophisticated                       001-17635-BKC-      8/28/2000   5/25/2001    Trustee   Brian S. Behar     Behar Gutt &         Telecom
Communications, Inc.                AJC                                                                       Glazer, Aventura,
                                                                                                              FL


TCPI, Inc.                          01-24937-BKC-RBR    7/3/2001    10/4/2001    Trustee   Jerry M.           Markowitz, Davis,    Healthcare
                                                                                           Markowitz          Ringel & Trusty,
                                                                                                              P.A., Miami, FL



TS Employment, Inc.                 15-10243 (MG)       2/2/2015    2/27/2015    Trustee   Michael Driscoll   U.S. Department of   PEO
                                                                                                              Justice, New York,   (employee
                                                                                                              NY                   staffing)


TUSA Florida, Inc., et al.,         93-10748-BKC-       2/26/1993   5/14/1993    Trustee   John Genovese      Kelley Drye &        Transporta-
Debtors                             SMW, 93-10759-                                                            Warren, Miami, FL    tion
                                    BKC-SMW, 93-
                                    10928-BKC-SMW

United Information Systems, Inc.    98-16621-BKC-AJC,   7/22/1998   9/28/1998    Trustee   Jerry Markowtiz    Markowitz, Davis,    Distribution
                                    98-16634-BKC-AJC                                                          Ringel & Trusty,
                                                                                                              P.A., Miami, FL


United Forming, Inc.                92-11113-BKC-       2/24/1992   8/14/1992    Trustee   Lee Mandell        Lee Mandell, P.A.,   Construc-
                                    SMW                                                                       Coral Gables, FL     tion



World Terminal Distribution Corp.   00-16555-BKC-RAM    7/25/2000   1/19/2001    Trustee   Allison R. Day     Genovese            Distribution
                                                                                                              Lichtman Joblove &
                                                                                                              Battista, Miami, FL
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Worldwide Web Systems, Inc.      00-16067-BKC-RAM   7/11/2000   8/11/2000    Trustee   Paul S.      Berger, Davis &     Telecom
                                                                                       Singerman    Singerman, Miami,
                                                                                                    FL


WTI International Corp.          98-18183-BKC-AJC   1/25/1999   5/1/1999     Trustee   Arnold       Schatzman &         Licensing/
                                                                                       Schatzman    Schatzman, Miami,   Patents
                                                                                                    FL
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Bankruptcy Examiner Appointments



                                                            Filing     Appointment                     Attorney/
 Case Name                                 Case No.         Date          Date        Role             Contact       Firm Name                Industry

25 Travel, Inc.                       92-15634-BKC-SMW      1992                     Examiner                      Miami, FL         Retail



Aerial Transit Company, Debtor        92-17033-BKC-AJC    12/11/1992     4/8/1993    Examiner   Ronald Neiwirth    Semet,             Aviation
                                                                                                                   Lickstein, et al.,
                                                                                                                   Coral Gables,
                                                                                                                   FL

Jack W. Barrett, Debtor               93-10562-BKC-AJC    2/12/1993     7/30/1993    Examiner   Rick Rodgers       Port St. Lucie,   Professional Services /
                                                                                                                   FL                  Medical



Cascade International, Inc., et al.   91-33703-BKC-RAM      1991                     Examiner   John Genovese      Kelley Drye &     Retail
                                                                                                                   Warren, Miami,
                                                                                                                   FL


Evolution Imports, Inc.               96-21853-BKC-RAM      1996        6/25/1996    Examiner   N/A                Miami, FL         Retail




F.L.G. Inc., Debtor(s)                99-10467-BKC-AJC      1999         3/1999      Examiner   N/A                Miami, FL         Retail




Fisher Island Investments, Inc.,      11-17047-BKC-AJC,     2011        4/27/2011    Examiner   N/A.               Miami, FL         Various
Mutual Benefits Offshore Fund,        11-17051-BKC-AJC,
Ltd., Little Rest Twelve, Inc.        11-17061-BKC-AJC
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Bankruptcy Examiner Appointments


Hillard Development Corp. v.          Adv No. 94-0467-   5/27/1994   2/2/1995    Examiner   James Boone       James Boone, P.A., Insurance
Griswold, et al.                      BKC-AJC-A                                                               Ft. Lauderdale, FL



Ideas Apparel Group, Inc., Inc.,      91-B-10398 (CV)      1991      6/11/1993   Examiner                     USBC, New York,      Insurance
Debtor                                New York                                                                NY



IDEECO, Inc., Debtor                  95-23042-BKC-RBR     1995      8/31/1995   Examiner   Denyse Heffner    Office of the U.S.   -
                                                                                                              Trustee, Miami, FL



Luke Records, Inc., Debtor            95-11447-BKC-RAM   3/28/1995   6/20/1995   Examiner   Amber Donner      Office of the U.S.   Entertain-ment
                                                                                                              Trustee, Miami, FL



M&E Trading Co., Inc., Debtor         91-15597-BKC-PGH     1991                  Examiner   Brent Friedman    Stroock, Stroock &   Retail
                                                                                                              Lavan



Overseas Corp., et al., Debtor        90-15067-BKC-AJC     1990                  Examiner                     USBC, Miami, FL      Real Estate




Syntax-Brillian Corporation, et al.   08-114079 (BLS)    7/8/2008    9/2/2008    Examiner   Steven M. Yoder   Potter Anderson &    Electronics
                                                                                                              Corroon,
                                                                                                              Wilmington, DE
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Liquidating Trustee Appointments




                                                      Filing     Appointment                     Attorney/
 Case Name                             Case No.       Date          Date          Role           Contact           Firm Name          Industry

Aero Systems Inc. / Aero           93-12972-BKC-     8/5/1993     5/12/1994    Liquidating   Ronald Neiwrith    Semet, Lickstein, et Aviation
Systems Aviation Corp.             SMW, 93-12973-                                Trustee                        al., Coral Gables,
                                   BKC-SMW                                                                      FL


American Way Service Corp.,        94-24696-BKC-    12/2/1994     10/12/1995   Liquidating   Paul J. Battista   Genovese, Joblove Insurance
Debtor                             RBR                                           Trustee                        & Battista, P.A.,
                                                                                                                Miami, FL


Certified HR Services              05-22912-BKC-    11/27/2007    11/27/2007   Liquidating   Paul J. Battista   Genovese, Joblove Professional
Company Liquidating Trust          RBR                                           Trustee                        & Battista, P.A., Services
                                                                                                                Miami, FL


L. Luria Liquidating Trust         97-16731-BKC-      1997         6/1/1998    Liquidating   Brian Kriger       Traub, Fox &         Retail
                                   Ram (CH 11)                                   Trustee                        Bonequist, New
                                                                                                                York, NY


Mission Health, Inc.               99-5019-3F1        1999        10/18/2000   Liquidating   Edwin W. Held,     Fischette Owen       Healthcare
                                                                                 Trustee     Jr.                Held & McBurney,
                                                                                                                Jacksonville, FL


Rich International Airways, Inc.   96-17399-BKC-      1996         5/1998      Liquidating   Peter Levitt       Adorno & Zeder,      Aviation
Liquidating Trust                  RAM                                           Trustee                        Miami, FL



Levitt and Sons, LLC, et al.       07-19845-BKC-    11/9/2007     12/21/2007   Liquidating   Paul J. Battista   Genovese, Joblove Real Estate
                                   RBR                                           Trustee                        & Battista, P.A.,
                                                                                                                Miami, FL


Pharmasystems Holding              99-14626-RAM     5/13/1999     5/17/1999    Liquidating   Craig Rieders      Genovese, Joblove Retail
Corporation, Debtor                                                              Trustee                        & Battista, P.A.,
                                                                                                                Miami, FL
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Fiduciary and Other Roles



                                                            Filing     Appointment                         Attorney/
 Case Name                                 Case No.         Date          Date            Role             Contact            Firm Name           Industry

RGN Group Holdings LLC               20-11961              8/17/20      7/17/2020     Responsible       Chad Husnick       Kirkland and         Real Estate
                                                                                        Officer                            Ellis LLP



Patriot National Inc. and            18-10189             1/30/2018     10/17/2017        CRO           Katie Coleman      Hughes Hubbard &     Professional
Subsidiaries                                                                                            Laura Davis        Reed                 Services
                                                                                                        Jones              Pachulski Stang
                                                                                                                           Ziehl & Jones LLP

Value City Department Stores,        08-14197             10/26/2008    1/23/2008     President and     John Longmire      Willkie Farr &       Retail
LLC                                                                                       CRO                              Gallagher LLP,
                                                                                                                           New York, NY


FJC Amusements, Inc. as a            N/A                                  2008          Arbitrator      Joel S. Fass       Colodny, Fass,       Entertainment
general partner of a joint                                                                                                 Talenfeld, Karlinsky
partnership, Niagara Flume                                                                                                 & Abate, P.A., Ft.
Partnership, Plaintiff, and Triple                                                                                         Lauderdale, FL
D of Lakeland, defendant

Larry Kline Wholesale Meats &        N/A                                 11/2007        Mediator        Joel S. Fass       Colodny, Fass,      Distribution
Provisions, Inc. v. David                                                                                                  Talenfield,
Freeman                                                                                                                    Karlinsky & Abate,
                                                                                                                           PA, Ft. Lauderdale,
                                                                                                                           FL

ABC for Tasco Worldwide, Inc.        Multiple               2002         5/2002      Assignee for the   Ronald L. Leibow   Kay Scholer LLP,     Mfg./Retail
and Celestron International                                                             Benefit of                         Los Angeles, CA
                                                                                        Creditors


Metso Oyj and Svedala                Docket No. C-4024,                  9/7/2001    Interim Monitor-   M. Elaine          White & Case, New Mfg.
Industries, AB                       File No. 001-0186                                     FTC          Johnston           York, NY



The Estate of Ralph Laurence         Probate Division,     6/1999        12/1998       Co-Curator       David Glazer       Behar, Gutt &        Probate
Devine, Deceased                     File Number: 98-                                                                      Glazer               Estate
                                     3651, Division: 04
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Fiduciary and Other Roles



DeCiccio Floral Corp. d/b/a       96-03762 CA15         2/22/1996    2/29/1996   Assignee for the   Robert A.        Schantz,               Distribution
American Floral Distributors                                                        Benefit of      Schatzman        Schatzman &
                                                                                    Creditors                        Aaronson, Miami,
                                                                                                                     FL

Fyffes Bananas International v.   N/A                                 8/1994        Arbitrator      Tom Murphy       Fyffes Bananas         Agriculture
Proyecto La Cruz Manzanillo                                                                                          International, Ft.
                                                                                                                     Lauderdale, FL


General Trading, Inc. v. Yale     88-0061-CIV-             1988      4/15/1994   Federal Receiver   Philip Allen     Litow, Cutler,         -
Materials Handling Corp.          Bandstra                                                                           Zabludowski, et al.,
                                                                                                                     Miami, FL


Hi-Tech Computer Products, Inc., 92-11601 (08)          1992         12/3/1992    Special Master    Frank Sinagra    Haley, Sinagra &       Technology
et al., v. NationsBank of Florida Broward Circuit Ct.                                                                Perez, P.A., Ft.
                                                                                                                     Lauderdale, FL


Carbotex, Inc. Assignor           97-27655 CA (11)                               Assignee for the   Paul L. Orshan   Kluger, Peretz,        Retail
                                                                                    Benefit of                       Kaplan & Berlin,
                                                                                    Creditors                        P.A., Miami, FL
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Director, Global Restructuring


                                      Scott Lyman is a Director in the Global Restructuring practice based in New York. He has nearly 20
                                      years of experience providing forensic accounting, financial and fraud investigation services in
                                      commercial litigation and bankruptcy matters. His experience includes investigations involving
                                      allegations of fraud, financial reporting irregularities, management misconduct, embezzlement,
                                      kickbacks, and Ponzi schemes.

                                      Scott has led numerous high profile engagements on behalf of counsel for management and creditor
                                      committees, lenders and trustees in bankruptcy. Scott has worked with both public and private
                                      companies across numerous industries, including the pharmaceutical, automotive, financial services,
                                      insurance, staffing, real estate / construction, retail, and telecommunications.
QUALIFICATIONS
                                      Scott recently advised the United States Attorney’s office on behalf of the United States Government to
•   B.A. from Indiana University,     provided financial advisory services to the United States Department of Justice (“DOJ”) in connection
    Bloomington
                                      with the estate of Purdue Pharma L.P., any chapter 11 plan of reorganization, and distributions
•   Certified Insolvency &
    Restructuring Advisor
                                      thereunder relative to the United States and its agencies. Scott also recently supported the Responsible
                                      Officer in Regus Corporation related to Chapter 11 proceedings in the United States.

                                      Scott has also been involved with many other large and high profile engagements, including Lehman
                                      Brothers Holding Inc., Residential Capital, LLC, Syncora Holdings, Ltd., Sbarro, LLC, Endeavour
                                      International Corporation, Savient Pharmaceuticals, Inc., Pope & Talbot Inc., Delphi Automotive,
                                      Corporate Resource Services, Global Crossing, and Twinlabs.

                                      Prior to joining D&P, Scott was a Senior Vice President at Mesirow Financial LLC in the Consulting
                                      Practice, a Director at FTI Consulting in the Corporate Finance Practice and a member of the Assurance
                                      Practice at PricewaterhouseCoopers LLP.




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
2818 La Cienega Avenue, Los Angeles, CA 90034

A true and correct copy of the foregoing document entitled (specify): APPLICATION OF CHAPTER 11 DEBTORS AND
DEBTORS IN POSSESSION TO EMPLOY KROLL, LLC AS FINANCIAL ADVISORS PURSUANT TO 11 U.S.C. §
327(a); DECLARATION OF JAMES FELTMAN IN SUPPORT THEREOF will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 17, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Ron Bender rb@lnbyb.com
       Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
       Michael I. Gottfried mgottfried@elkinskalt.com, cavila@elkinskalt.com
       Jonathan Gottlieb jdg@lnbyg.com
       Michael J Hauser michael.hauser@usdoj.gov
       Marsha A Houston mhouston@reedsmith.com, hvalencia@reedsmith.com
       Krikor J Meshefejian kjm@lnbyg.com
       Christopher O Rivas crivas@reedsmith.com, chris-rivas-8658@ecf.pacerpro.com
       Lindsey L Smith lls@lnbyg.com, lls@ecf.inforuptcy.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL: On (date) June 17, 2022, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) June 17, 2022, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                             Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 June 17, 2022                  Lourdes Cruz                                                    /s/ Lourdes Cruz
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
